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                        IN THE UNITED STATES DISTRICT COURT
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                         NORTHERN DISTRICT OF CALIFORNIA
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 9   Jennifer E. Dadesho,
                                                   No. 3:16-cv-02571-RS
10                       Plaintiff,

11   vs.
                                                   [PROPOSED] ORDER
12   Barclays Bank Delaware,

13
                         Defendant.
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             PURSUANT TO THE STIPULATION, IT IS SO ORDERED that all claims of
16
17   Plaintiff, Jennifer E. Dadesho,, against Defendant, Barclays Bank Delaware, are
18   dismissed, with prejudice. Plaintiff and Defendant shall each bear their own costs and
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     attorneys’ fees.
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             IT IS SO ORDERED.
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24
     Date: 9/20/16
25                                                    Honorable Richard Seeborg
                                                      United States District Judge
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                                                                               [PROPOSED] ORDER
                                                -1-                               3:16-CV-02571-RS
